           Case 1:22-cr-00149-JEB Document 39 Filed 01/24/23 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       Case No. 22-cr-00149-JEB
                                         :
ATHANASIOS ZOYGANELES,                   :
                                         :
                    Defendant.           :


        MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

      COMES NOW Attorney Allen H. Orenberg, counsel for the defendant,

Athanasios Zoyganeles, to respectfully move this Honorable Court for the entry of

an Order granting leave to withdraw as counsel in 22-cr-00149-JEB. As grounds,

the following is stated by undersigned counsel:

      1.      There now exists between defendant and counsel a fundamental

disagreement as to how to proceed in this matter. Counsel submits this

disagreement is now irreconcilable and cannot be satisfactorily repaired.

      2.      A sentencing hearing is scheduled for January 26, 2023, at 11:00 a.m.

      3.      The Defendant should not be compelled to proceed to sentencing with

an attorney with whom he does not have full faith and confidence.

      4.      Counsel submits that granting this motion will not prejudice the

parties or the Court, and/or otherwise will be in the interests of justice.

      5.      On January 24, 2023, a copy of this instant Motion has been mailed

postage pre-paid first class mail and sent by e-mail to the defendant, along with a

letter advising him that if he wants to respond to this Motion For Leave To

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            Case 1:22-cr-00149-JEB Document 39 Filed 01/24/23 Page 2 of 2




Withdraw As Counsel, he should promptly file his written response with the Clerk

of Court.

      WHEREFORE, foregoing reasons, and for such other reasons that may

appear just and proper, undersigned counsel respectfully requests moves this

Honorable Court for the entry of an Order granting leave to withdraw as counsel for

the defendant in case no. 22-cr-00149-JEB.

                                       Respectfully Submitted,


                                                           Digitally signed
                                        Allen H.           by Allen H.
                                                           Orenberg
                                        Orenberg           Date: 2023.01.24
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                                       _________________________________
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Dated: January 24, 2023




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